 

AO 9§ (rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

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In the Matter of the Search of:
Information associated with tntgeng_lemanscluh@iclou§.cgg

that is stored at premises owned,'maintained, controlledj or `
operated by Apple Inc., a company headquartered at Apple Inc.,
1 Infinite Loop, Cupertino, CA 95014

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SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by- a federal law enforcement officer or an attorney for the government requests the search of the following person
or property located in the Eastem District of Wisconsin: '

See Attachment A

I find that the affidavit(s) or any recorded testimony, establish probable cause to search and seize the person or property described
above and that such search will reveal:

See Attachment B

 

YoU ARE colvrMANDED to execute this warrant oyEFoRE%&L_AFFJ-_Q{& rem re exceed 14 deys)
[:l in the daytime between 6:00 a.m. and 10:00 p.m. at any time in th ay or night because good cause has been established.
Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the

person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory as required

by law and promptly return this warrant and inventory to Hon. Nancv Joseph
(United States Magistrate Judge)

\:l Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the ofiicer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriaze box)

[:lfor days (not to exceed 30) [:l until, the facts justifying, the later specific date of

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City and State: Milwaukee, Wisconsin Hon. Nancy Joseph , U.S. Magistrate Judge
Printed Name and Title

 
   

Date and time issued:

 

 

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Return

 

Case No: Date and time warrant executed: Copy of warrant and inventory lehyvith:

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Inventory made in the?re`§ence

 

 

 

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Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
undersigned judge.

Date ?/a/Q<JQ #§»%
v / Executing officer ’s s' ature
l Printeg name and titlez : l ' § §

 

 

Subscribed, sworn to, and returned before me this date:

  
   
 

Date:

       

 

  

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_ ATTA€HMENT A
Premises to be Searched
This warrant applies to information associated with §§gentleg_ansclgb@icloud.com
(the “account”) that is stored at premises owned, maintained, controlled, or operated by Apple

Inc., a company headquartered at Apple Inc., l lnf`rnite Loop, Cupertino, CA 95014.

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I.

 

ATTACHMENT B

Particular Things to be Seized

Information to be disclosed by Apple

To the extent that the information is within the possession, custody, or control of Apple,

including any messages, records, file`s, logs, or information that have been deleted but are still

available to Apple, or have been preserved pursuant to a request made under 18 U.S.C. §.

2703(f), Apple is required to disclose the following information to the govemment, in

unencrypted form whenever available, for the account listed in Attachment A:

a.

All records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers, email addresses
(including primary, alternate, rescue, and notification email addresses, and
verification information for each email address), the date on which the account
was created, the length of service, the IP address used to register the account,
account status, methods of connecting, and means and source of payment
(including any credit or bank account numbers);

All records or other information regarding the devices associated with, or used in
connection with, the account (including all current and past trusted or authorized
iOS devices and computers), including serial numbers, Unique Device Identifiers
(‘fUDID”), Advertising Identifiers (“IDFA”), Global Unique Identifiers
(“GUID”), Media Access Control (“MAC”) addresses, Integrated Circuit Card ID
numbers (“ICCID”), Electronic Serial Numbers (“ESN”), Mobile Electronic
Identity Numbers (“MEIN”), Mobile Equipment Identifiers (“MEID”), Mobile
Identification Numbers (“MIN”), Subscriber Identity Modules (“SIM”), Mobile
Subscriber Integrated Services Digital Network Numbers (“MSISDN”),
Intemational Mobile Subscriber Identities (“IMSI”), and Intemational Mobile
Station Equipment Identities (“IMEI”);

The contents of all instant messages associated with the account, including stored
or preserved copies of instant messages (including iMessages, SMS messages,
and MMS messages) Sent to and from the account (including all draft and deleted
messages), the source and destination account or phone number associated with
each instant message, the date and time at which each instant message was sent,
the size and length of each instant message, the actual IP addresses of the sender
and the recipient of each instant message, and the media, if any, attached to each
instant message;

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d. The contents of all files and other records stored on iCloud, including all iOS
device backups, all Apple and third-party app data, all files and other records
related to iCloud Mail, iCloud Photo Sharing, My Photo Strearn, iCloud Photo
Library, iCloud Drive, iCloud Tabs, and iCloud Keychain, and all address books,
contact and buddy lists, notes, reminders, calendar entries, images, videos,
voicemails, device settings, and bookmarks;

e. All activity, connection, and transactional logs for the account (with associatele
addresses including source port nurnbers), including\FaceTime call invitation
logs, mail logs, iCloud logs, messaging and query logs (including iMessage, SMS,
and MMS messages), My Apple ID and iForgot logs, sign-on logs for all Apple
services, Find my iPhone logs, logs associated with iOS device activation and
upgrades, and logs associated with web-based access of Apple services (including
all associated identifiers);

f. All records and information regarding locations where the account was accessed,
including all data stored in connection with Location Services;

g. All records pertaining to the types of service used;

h. All records pertaining to communications between Apple and any person
regarding the account, including contacts with support services and records of
actions taken; and

i. All files, keys, or other information necessary to decrypt any data produced in an
encrypted form, when available to Apple (including, but not limited to, the
keybag.txt and fileinfolist.txt files).

II. Inf`ormation to be seized by the government

All information described above in Section I that constitutes evidence or instrumentalities
of violations of Title 18, United States Code, Sections 1594(b) (conspiracy to engage in sex
trafiicking), 1952 (use of facility in interstate commerce to promote, manage, or carry on
unlawful prostitution activity), or 1956 (money laundering), from 2012 to the present, including:

a. All information and communications in any form, including text messages, instant
messages, emails, and other forms of messages concerning the operations of TNT
Gentleman’s Club, including the scheduling of dancers, nightly revenues at TNT,
amounts that dancers had earned or were owed by TNT, negotiations with dancers’
“handlers” or “pimps,” and other club-related business, whether legal or illegal;

b. Photographs or videos of dancers or strippers, the interior or exterior of TNT, the
staff of TNT, or any other image related to the operation of TNT;

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c. All call and messaging logs;

d. Contact lists, to assist with the interpretation of the communications documented
in the call logs and to identify the parties listed as affiliated with TNT;

e. Evidence of user attribution, showing who used or owned the devices at the time
the things described in this warrant were created, edited, or deleted, such as logs,
phonebooks, saved usernames and passwords, notes, documents and Intemet
browsing history;

f. Evidence of use of third-party apps and websites, such as Facebook, related to the
offenses under investigation;

g. The identity and location of the persons who have used the Apple ID;

_ h. Evidence indicating how and when the account was accessed or used, to determine
the chronological and geographic context of account access, use and events relating
to the crime under investigation and the account sub~scriber;

i. Any records pertaining to the means and source of payment for services (including
any credit card or bank account number or digital money transfer account
information); and /

j.

As used above, the terms “records” and “information” include all of the foregoing items of
evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that
can store data) and any photographic f`orm.Evidence that may identify any co-conspirators, aiders
and abettors, or victims including records that help reveal their whereabou

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